Case 09-19023-BFK      Doc 40   Filed 09/20/11 Entered 09/20/11 13:34:37             Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                             FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division
        In the Matter of:

        RODERICK L. GRAVES                                     Chapter 13
        SSN: ###-##-0237
                                      Debtor                   Case No. 09-19023-BFK




                                        ORDER OF DISMISSAL

                This matter came on by request of the Trustee for Dismissal of this proceeding
        pursuant to 11 U.S.C. 1307. Notice thereof having been given in accordance with Rule
        2002, and it appearing to the court that adequate cause does exist and that it is in the best
        interest of the creditors and this estate that this proceeding be dismissed, it is
                ORDERED, that these proceedings under Chapter 13 of the Code be and they
        hereby are dismissed, and it is further
                ORDERED, that the debtor(s) pay the balance of the filing fee in the amount of
        $________
           0.00       to the Clerk of Court within ten (10) days of the date of this order; and it is
        further
                ORDERED, that any interest earned and attributable to Plan payments made in this
        Chapter 13 case is hereby awarded to the office of the Chapter 13 Trustee of this Court as
        actual and necessary expenses pursuant to 11 U.S.C. 330(a)(1)(B), and it is further
                ORDERED, that the dismissal of this case revests the property of the estate in the
        entity in which such property was vested immediately before the commencement of the
        case. The Trustee need not file a final report in this case unless property or money is
        administered.
                If the debtor(s) has been making payments by payroll deduction, the employer as set
        forth in that Order for payroll assignment shall cease any payroll deductions for the benefit
        of the Chapter 13 Trustee.

                                                      /s/ Robert G. Mayer
                                                      ___________________________
        Sep 20 2011
                                                      Robert G. Mayer
                                                      U. S. Bankruptcy Judge
        I Ask For This:
                                                  Entered on Docket: September 20, 2011
        /s/ Thomas P. Gorman
        Thomas P. Gorman, Trustee
        300 North Washington Street, Ste. 400
        Alexandria, VA 22314
        (703) 836-2226
        VSB #26421
                                  Local Rule 9022-1(C) Certification

               The foregoing order was endorsed by and/or served upon all necessary parties
        pursuant to Local Rule 9022-1(C).

        /s/ Thomas P. Gorman _
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        Thomas P. Gorman, Chapter 13 Trustee
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        Roderick L. Graves
        Case #09-19023-BFK


        PARTIES TO RECEIVE COPIES


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        Chapter 13 Trustee
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        Alexandria, VA 22314
